AO PA
(Rev. 8/82)

 

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Sun the Anited States District Court
For the Southern District of Georgia
Waycross Dibision

ROBERT WENDELL SMITH, *
*
Plaintiff, * CIVIL ACTION NO.: 5:21-cv-53
*
Vv. *
*
ASHLEY WILSON; and JESUS TOVAR, *
*
Defendants. *
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation, dkt. no. 15, to which Plaintiff filed no
Objections.

Thus, the Court ADOPTS the Magistrate Judge’s Report and
Recommendation as the opinion of the Court and DISMISSES all
Plaintiff’s claims against Defendants Wooten, Cole, and Smith,
and Plaintiff's official capacity claims against Defendants
Wilson and Tovar. Plaintiff’s Fourth Amendment excessive force
claims against Defendants Wilson and Tovar in their individual
capacities and deprivation of property claim against Defendant

Wilson in her individual capacity remain pending.

 
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SO ORDERED, this QA day of Necbiew , 2021.

 

HDN. LIZA GODBEY WOOD, JUDGE
UNITED’ STATES DISTRICT COURT
SDUTHERN DISTRICT OF GEORGIA

 
